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                   Exhibit A
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‫ م‬١٠:٢٢ ٢٠١٨ ،‫ ابريل‬٤ ،‫ في األربعاء‬Ward, Jennifer <Jennifer.Ward@mail.house.gov> ‫كتب‬:


My coworker, Samuel Acosta, is out of the office and I received the reply from the U.S. Department of State Officials
below in response to the Congressman’s inquiry on your behalf. I believe you will find it self-explanatory.

Feel free to contact me or Samuel in 6 months if you do not receive any further information concerning your case and the
Congressman will be happy to make another inquiry on your behalf.

Thank you.

-Jennifer

            From: DoS-Congressional
            Sent: Wednesday, April 4, 2018 3:00 PM
            To: Ward, Jennifer <Jennifer.Ward@mail.house.gov>
            Subject: FW: Congressional Inquiry --
            Importance: High

            April 4, 2018

            Dear Jennifer:

            Thank you for your April 2 e-mail asking about the status of the refugee case
            of Mr.                                               born     1964. His case
            number in Egypt is              . Mr.         is seeking information about
            when he will be able to travel to the United States.

            The following information is provided in response to your inquiry, however,
            pursuant to Section 222(f) of the Immigration and Nationality Act (8 U.S.C.
            1202(f)), the information shall be considered confidential and shall be used
            only for the formulation, amendment, administration or enforcement of
            immigration, nationality, and other laws of the United States.

            According to our records, this cas was opened in Oct. 2014 and finally
            approved by DHS/USCIS in September 2017. The USRAP was unable to
            complete the final processing of the case prior to the Oct. 24, 2017
            Executive Order directing the temporary suspension of the movement of the
            nationals from eleven countries, including Iraq, until a further review of the
            procedures for processing these cases was completed. This suspension
            ended on Jan. 22, 2018. The USRAP collected additional biodata
            information from Mr.            in January and in the processing of completing
            further security checks as a result of the findings of the review. Once the
            results of the security checks are received, DHS/USCIS will conduct a final
            review and then we will schedule him for a new medical exam and requested
            an amended sponsorship assurance from the resettlement agency assigned to


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       his case. At this time, however, we cannot provide a timeframe as to when
       the processing of this case will be completed. When there is any change in
       the status of the case we will inform Mr.       .

       I hope that this information is helpful. If you have further questions, please
       do not hesitate to contact me again.

       Sincerely,

       Congressional Liaison
       Bureau of Population, Refugees
       and Migration
       Department of State


       Official - Privacy/PII
       UNCLASSIFIED




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